              Case 2:03-cr-00371-JAM Document 711 Filed 07/02/08 Page 1 of 2


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     Attorney for Petra Funtila
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 6
 7                             IN THE UNITED STATES DISTRICT COURT
 8                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES,                        )               No. 2:03-cr-00371-MCE
                                           )
11               Plaintiff,                )
                                           )               STIPULATION AND
12         v.                              )               ORDER RESETTING THE
                                           )               STATUS CONFERENCE
13   PETRA FUNTILA,                        )
                                           )
14               Defendant.                )
     _____________________________________ )
15
16
17          Defendant Petra Funtila, by and through counsel Krista Hart, and the United States
18   (government) by and through counsel Assistant U.S. Attorney William Wong stipulate and agree
19   the status conference currently set for July 3, 2008, should be reset to July 24, 2008, at 9:00 a.m.
20   At that time it is anticipated Ms. Funtila will change her plea.
21          The parties stipulate and agree the time from July 3, 2008, up to and including July 24,
22   2008, should be excluded in computing the time within which the trial of the above criminal
23   prosecution must commence for purposes of the Speedy Trial Act. The parties stipulate that the
24   ends of justice are served by the Court excluding such time, so that counsel for the government
25   and the defendant may have reasonable time necessary for effective preparation, taking into
26   account the exercise of due diligence. 18 U.S.C. § 3161(h)(8)(B)(iv) (Local Code T4).
27   ///
28   ///
              Case 2:03-cr-00371-JAM Document 711 Filed 07/02/08 Page 2 of 2


 1           The government has offered a plea agreement and the defense has reviewed it. The
 2   defense has made counter proposals which have been considered; some have been accepted and
 3   some rejected. It appears we have reached an agreement in spirit. Ms. Funtila is housed in
 4   Nevada City, an hour long drive from Sacramento, and it is difficult to arrange time to make the
 5   drive and discuss the various changes. Ms. Funtila needs to review the final draft before we will
 6   be prepared to proceed to a change of plea hearing. Additionally, counsel for Ms. Funtila was in
 7   trial for a majority of June making it more difficult to find time to get up to Nevada City to meet
 8   with the client. For these reasons, the ends of justice are best served by resetting the change of
 9   plea hearing currently set for July 3, 2008, to July 24, 2008.
10
11   DATED: July 2, 2008                                   /s/ Krista Hart
                                                           Attorney for Petra Funtila
12
13
     DATED: July 2, 2008                                   McGREGOR SCOTT
14                                                         United States Attorney
15                                                         /s/ William Wong
                                                           Assistant U.S. Attorney
16
17                                                 ORDER
18   It is so ordered.
19
      Dated: July 2, 2008
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                                                    ________________________________
21                                                  MORRISON C. ENGLAND, JR.
22                                                  UNITED STATES DISTRICT JUDGE

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